Case 14-30699-hdh11 Doc 456 Filed 06/21/14                         Entered 06/21/14 20:13:32   Page 1 of 11




 John E. Mitchell, SBT # 00797095
 Rosa A. Shirley, SBT # 24056313
 BAKER & McKENZIE LLP
 Trammell Crow Center
 2001 Ross Avenue, Suite 2300
 Dallas, Texas 75201
 Tel: (214) 978-3000
 Fax: (214) 978-3099
 Email: john.mitchell@bakermckenzie.com
 rosa.shirley@bakermckenzie.com

 ATTORNEYS FOR THE DEBTORS

                                UNITED STATED BANKRUPTCY COURT
                               FOR THE NORTHERN DISTRICT OF TEXAS
                                         DALLAS DIVISION

                                                             §
     IN RE:                                                  §        CASE NO. 14-30699-11
                                                             §
     BUFFET PARTNERS, L.P., et al.,                          §        CHAPTER 11
                                                             §
              DEBTORS. 1                                     §        (Jointly Administered)
                                                             §

                                            NOTICE OF CLOSING OF SALE

            On March 14, 2014, the Debtors filed their Expedited Motion for an Order (1) Approving

 the Procedures for (A) the Sale of Substantially All Assets (B) the Assumption and Assignment of

 Certain Executory Contracts and Unexpired Leases (C) the Establishment of Cure Amounts, (II)

 Approving Form of notice and (III) Setting a Hearing Date for the Approval of the Sale [Dkt.

 No. 184] (the “Sale Motion”).

            On March 24, 2014, the Court entered the Order (i) Approving the Procedures for (a) the

 Sale of Substantially All Assets (b) the Assumption and Assignment of Certain Executory

 Contracts and Unexpired Leases (c) the Establishment of Cure Amounts, (ii) Approving Form of




 1
     The Debtors in these chapter 11 cases are Buffet Partners, L.P. and Buffet G.P., Inc.


 779482-v1\DALDMS
Case 14-30699-hdh11 Doc 456 Filed 06/21/14           Entered 06/21/14 20:13:32       Page 2 of 11




 Notice and (iii) Setting a Hearing Date for the Approval of the Sale [Dkt. No. 216] (the “Sale

 Procedures Order”).

        Pursuant to the Sale Procedures Order, on March 28, 2014, the Debtors filed the fully

 executed Purchase Agreement with the Stalking Horse [Dkt. No. 233].

        On May 12, 2014, the Court entered the Order (A) Approving the Sale of Substantially

 All Assets and (B) Authorizing the Assumption and Assignment of Certain Executory Contracts

 [Dkt. No. 364] (the “Sale Order”), which approved the Sale Motion as set forth therein.

         PLEASE TAKE NOTICE that on June 20, 2014, the Debtors and Chatham Credit

 Management III LLC closed on the Sale (as defined in the Sale Order).

 Dated: June 21, 2014                        Respectfully submitted,

                                             BAKER & McKENZIE LLP
                                             Trammell Crow Center
                                             2001 Ross Avenue, Suite 2300
                                             Dallas, Texas 75201
                                             Tel: (214) 978-3000
                                             Fax: (214) 978-3099
                                             Emails: john.mitchell@bakermckenzie.com
                                                      rosa.shirley@bakermckenzie.com

                                             By: /s/ John E. Mitchell
                                                 John E. Mitchell, SBT # 00797095
                                                 Rosa A. Shirley, SBT #24056313

                                             ATTORNEYS FOR THE DEBTORS




 779482-v1\DALDMS                                                                             2
Case 14-30699-hdh11 Doc 456 Filed 06/21/14              Entered 06/21/14 20:13:32         Page 3 of 11




                                  CERTIFICATE OF SERVICE

         I hereby certify that on June 21, 2014, a true and correct copy of the foregoing document
 was served on the parties registered to receive electronic notification via the Electronic Case
 Filing System for the United States Bankruptcy Court for the Northern District of Texas.

        I further certify that service via United States first-class mail on those parties listed on the
 Debtors’ Master Service and counterparties to the Debtors’ executory contracts and unexpired
 leases as set forth in the attached Exhibit A to Certificate of Service will follow and a
 supplemental certificate of service will be filed accordingly.

                                                      /s/ John E. Mitchell
                                                      John E. Mitchell




 779482-v1\DALDMS                                                                                     3
Case 14-30699-hdh11 Doc 456 Filed 06/21/14           Entered 06/21/14 20:13:32       Page 4 of 11



                                Exhibit A to Certificate of Service

 1 Source International                              Anchor Equities, Ltd
 925 Woodstock Rd., Ste. 150                         3839 Bee Caves Rd., Ste. 200
 Roswell, GA 30075                                   Austin, TX 78746

 1750 Redondo LLC                                    AP Food Sales
 170 Argonne Avenue                                  7501 Hughes Dr.
 Long Beach, CA 90803                                Plano, TX 75024

                                                     Aramark
 505 Cordova LLC
                                                     AUS Central Lockbox
 508 W. Cordova Rd.
                                                     PO Box 731676
 Santa Fe, NM 87505
                                                     Dallas, TX 75284-1085

 Admiral Linen                                       ARC CAFEUSA001, LLC
 2030 Kipling                                        200 Dryden Rd., Ste. 1100
 Houston, TX 77098                                   Dresher, PA 19025

 Adobe Systems Inc.                                  Arthur N. Rupe Foundation
 345 Park Ave.                                       3887 State St., Ste. 22
 San Jose, CA 95110-2704                             Santa Barbara, CA 93105

 Air Gas
                                                     ASO Agreement/TPA, United Healthcare
 4119 Colony Dr.
                                                     5800 Granite Pkwy., Ste. 900
 Hatboro, PA 19040
                                                     Plano, TX 75024

 Air Liquide                                         AT&T -Local Exchange Services #2
 801 West North Carrier Pkwy.                        PO Box 105414
 Grand Prairie, TX 75050                             Atlanta, GA 30348

 AKR Recruiting                                      AT&T -Managed Internet Service
 5209 N. Shartel Ave.                                PO Box 5019
 Oklahoma City, OK 73118                             Carol Stream, IL 60197

 Allen Canning Co                                    AT&T Business Network Service #1
 PO Box 841080                                       PO Box 5019
 Dallas, TX 75284-1080                               Carol Stream, IL 60197

 Alliance Processors                                 AT&T Business Network Service #1
 PO Box 77101                                        PO Box 105414
 Dallas, TX 75284-1081                               Atlanta, GA 30348

 Aloha- Radiant Systems                              AT&T Completelink 2.0 ILEC Pricing
 PO Box 198755                                       PO Box 105414
 Atlanta, GA 30384                                   Atlanta, GA 30348

 Ameripride Services                                 AT&T FLexible Reach - IP Toll-Free-Voice
 6025 W. Van Buren                                   PO Box 5001
 Phoenix, AZ 85043-3509                              Carol Stream, IL 60197




 779482-v1\DALDMS          EXHIBIT A TO CERTIFICATE OF SERVICE                                  1
Case 14-30699-hdh11 Doc 456 Filed 06/21/14       Entered 06/21/14 20:13:32          Page 5 of 11



 AT&T Managed Internet Service                   City of Odessa - 104
 PO BOX 5019                                     PO Box 2552
 Carol Stream, IL 60197                          Odessa, TX 79760

 Atmos Energy                                    City of OK
 PO Box 790311                                   PO Box 26570
 Saint Louis, MO 63179                           Oklahoma City, OK 73126

 Audio Video Media                               Clear Channel
 21 Sabin St.                                    Dept. CH 14365
 Pawtucket, Rl 02860                             Palatine, IL 60055

 Bellah & Associates                             Clear Channel
 4200 Boston Ave., Ste. 10                       File #30005
 Lubbock, TX 79413                               PO Box 847247
                                                 Dallas, TX 75284
 BioControl Systems
 12822 SE 32nd St.                               Click Here
 Bellevue, WA 98005                              8750 N. Central Expy., Ste. 1200
                                                 Dallas, TX 75231
 Boston and Mays LLC
 914 S. Tyler St.                                CNE Gas
 Amarillo, TX 79101                              9960 Corporate Cam pus Dr.
                                                 Louisville, KY 40223
 Brinks U.S.
 3900 Vassar Dr. NE                              Compass Professional Health Services
 Albuquerque, NM 87107                           13601 Preston Rd.
                                                 Dallas, TX 75240
 Brinks U.S.
 2600 Shull Ave.
 Oklahoma City, OK 73111                         ConAgra
                                                 1 ConAgra Drive
                                                 Omaha, NE 68102
 CCS Quickship LLC
 3002 Dow Ave., Ste. 402
 Tustin, CA 92780                                ConneX Systems Inc.
                                                 2033 Chennault Dr., Ste. 150
 Chris Hamilton                                  Carrollton, TX 75006
 4200 Bridgeview Dr., Apt. 1332
 Fort Worth, TX 76109                            Consolidated Edison Solutions, Inc.
                                                 100 Summit Lake Dr., Ste. 410
 Cigna                                           Valhalla, NY 10595
 1640 Dallas Pkwy.
 Plano, TX 75093                                 Creative Restaurant Services
                                                 401 E. Gordon Dr.
 Cintas                                          Exton, PA 19341
 PO Box 88005
 Chicago, IL 60680-1005
                                                 Crunch Time Systems Inc.
                                                 129 Portland St.
 City of Albuquerque - 115                       Boston, MA 02114
 PO Box 1313
 Albuquerque, NM 87103
                                                 CS Stars Renewal Agreement
                                                 1225 17th St., Ste. 1300
                                                 Denver, CO 80202



 779482-v1\DALDMS            EXHIBIT A TO CERTIFICATE OF SERVICE                             2
Case 14-30699-hdh11 Doc 456 Filed 06/21/14         Entered 06/21/14 20:13:32          Page 6 of 11



 CS Stars Software and Maintenance                 Fidler Marketing
 PO Box 201739                                     205 NW 66th St.
 Dallas, TX 75320                                  Oklahoma City, OK 73116

 Dexter Service Agreement                          Food Services of America
 3601 Cedar Springs                                PO Box 561439
 Dallas, TX 75219                                  Denver, CO 80256

 Dickinson Frozen Foods                            Gallagher Consulting Agreement
 2746 Momentum Place                               Two Pierce Place-14th Floor
 Chicago, IL 60689-5327                            Itasca, IL 60143

 DIRECTV Business Service Center                   Garda
 1505 NW 167th St.                                 301 N. Lake Ave. Suite 600
 Miami, FL 33169                                   Pasadena, CA 91101

 Discover Link                                     Global Food Exchange
 27 W. 250 Saint Charles Rd.                       2009 West Littleton Blvd., Ste. 310
 West Chicago, IL 60185                            Littleton, CO 80120


 Dr Pepper/Seven Up, Inc.                          Grant Thornton
                                                   1717 Main St., Ste. 1500
 PO Box 848424                                     Dallas, TX 75201-4667
 Dallas, TX 75284-8424

                                                   GreatAmerica Financial Services
 Eco Lab Dish Machine leases
                                                   PO Box 660831
 Attn: Chris Fiest
                                                   Dallas, TX 75266-0831
 370 Wabasha St.
 Saint Paul, MN 55102
                                                   Halco Foods
                                                   716 Mountain Laurel Dr.
 Eco Lab Water Softener Leases
                                                   East Stroudsburg, PA 18301
 GCS Service Inc.
 24673 Network Place
 Chicago, IL 60673                                 Hardies Fruits & Vegetables
                                                   PO Box 610484
                                                   Dallas, TX 75261
 Ecolab
 PO Box 70343
 Chicago, IL 60673-0343                            Hardies Fruits & Vegetables-Houston LP
                                                   PO Box 610413
 Erland L. and Mary Ann Stenberg                   Dallas, TX 75261
 4691 Chilena Valley Rd.
 Petaluma, CA 94952                                Hardies Fruits & Vegetables South
                                                   PO Box 613216
 Farm Properties, Inc.                             Dallas, TX 75261
 5321 S. Sheridan, Ste. 27
 Tulsa, OK 74145                                   Headrick Outdoor Media
                                                   One Freedom Square
 Fidelity Investments                              Laurel, MS 39440
 One Destiny Way, WA2L
 Westlake, TX 76262                                Holmes Murphy
                                                   12712 Park Central Dr., Ste. 100
                                                   Dallas, TX 75251




 779482-v1\DALDMS              EXHIBIT A TO CERTIFICATE OF SERVICE                             3
Case 14-30699-hdh11 Doc 456 Filed 06/21/14        Entered 06/21/14 20:13:32        Page 7 of 11



 Hospitality Recruiters                           J&R Industrial Cleaning
 10706 Cortland Ridge Ln.                         3415 Hunters Stand St.
 Cypress, TX 77433                                San Antonio, TX 78230

 HOULOUNN, LLC                                    J.M. Smucker Co.
 5944 Luther Ln., Ste. 725                        39198 Treasury Center
 Dallas, TX 75225                                 Chicago, IL 60694-9100

 Humboldt Rio West, LLC                           JC's Terminex
 1300 W Maloney Ave., Ste. 1                      5212 B 34th St
 Gallup, NM 87301                                 Lubbock, TX 79407

 Hume Arizona Holdings, LLC                       Joe E. and Bricia M. Monarrez
 241 West 71st St.                                Co-Trustes of the Monarrez Family Trust
 New York, NY 10023                               16830 Ventura Blvd., Ste. 100
                                                  Encino, CA 91436
 Hysler Capital
 PO Box 64379                                     John Gannon, Inc.
 Pittsburgh, PA 15264-3749                        525 Park Grove
                                                  Katy, TX 77450
 IBM Credit
 PO Box 67667300                                  John Sanfilippo
 Dallas, TX 75267                                 4290 Solutions Center
                                                  Elgin, IL 60123
 Idahoan Foods
 PO BOX 52280                                     Konica Minolta - DF
 Idaho Falls, ID 83405-2280                       PO Box 740423
                                                  Atlanta, GA 30374-0423
 lndCor Properties
 Two North Riverside Plaza, Ste. 2350             La Foy Services, Inc.
 Chicago, IL 60606                                1756 Jay Ell Drive
                                                  Richardson, TX 75081
 lnfoSync Services
 1938 N. Woodlawn, Ste. 110                       Las Palmas Dunhill LP
 Wichita, KS 67208                                3100 Monticello Ave., Ste. 300
                                                  Dallas, TX 75205
 Inland Diversified Dallas Wheatland LLC
 2901 Butterfied Rd., Bldg. 65092                 Lincoln Life
 Oak Brook, IL 60523                              4975 Preston Park Blvd., Ste. 510-WD D
                                                  Plano, TX 75093
 International Food Products
 4600 Railhead Rd.                                Loffredo Fresh Produce Co.
 4029 Solutions Center                            4001 SW 63rd St.
 Fort Worth, TX 76106                             Des Moines, lA 50321

 Iron Mountain                                    Loffredo Fresh Produce Co.
 1000 Campus Dr.                                  4001 SW 63rd St.
 Collegeville, PA 19426                           Des Moines, lA 50321

 J R Simplot Co                                   Lookout
 951 Southwood Dr.                                PO Box 1692
 Lubbock, TX                                      Stafford, TX 77497



 779482-v1\DALDMS             EXHIBIT A TO CERTIFICATE OF SERVICE                           4
Case 14-30699-hdh11 Doc 456 Filed 06/21/14         Entered 06/21/14 20:13:32        Page 8 of 11



 Loomis                                            N3 335 Plano TX LLC
 17120 Dallas Pkwy. 200                            620 E. Southlake Blvd.
 Dallas, TX 75248                                  Southlake, TX 76092

 Loomis- Fargo -123                                National Retail Properties
 Dept. 0757                                        450 South Orange Ave., Suite 900
 PO Box 120001D D                                  Orlando, FL 32801
 Dallas, TX 75312
                                                   National Retail Properties, LP
 Lynx Associates, LP                               450 S. Orange Ave., Ste. 900
 767 Fifth Ave., 7th Fl.                           Orlando, FL 32801
 New York, NY 10153
                                                   National Retail Properties, LP
 Maxus Capital Group                               450 S. Orange Ave., Ste. 900
 31300 Bainbridge Rd.                              Orlando, FL 32801
 Cleveland, OH 44139
                                                   National Retail Properties, LP
 MCM Properties Ltd.                               450 S. Orange Av., Ste. 900
 4101 E. 42nd Street D                             Orlando, FL 32801
 Odessa, TX 79762
                                                   National Retail Properties, LP
 Mechanical Solutions                              450 S. Orange Ave., Ste. 900
 3235 Halifax St.                                  Orlando, FL 32801
 Dallas, TX 75247
                                                   New Mexico Logos
 Mesa Center, LLC                                  510 Airport Dr. NW A4
 1031 Andrews Hwy., Ste. 100                       Albuquerque, NM 87109
 Midland, TX 79701
                                                   NMAA
 Messageware Incorporated                          6600 Palomas NE
 6711 Mississauga Rd., Ste. 308                    Albuquerque, NM 87109
 Mississauga, ON L5N 6J5
 CANADA                                            Northwest Fire Protection
                                                   PO Box 6237
 Mexus Group LP                                    Fort Smith, AR 72906
 1012 N. Campbell
 El Paso, TX 79902                                 NuCo2 Agreement
                                                   PO Box 9011
 Michael & Sandra Trammel                          Stuart, FL 34995
 10230 Pinetree Dr.
 San Diego, CA 92131
                                                   Okeene Milling Co.
 Microsoft South Central District                  PO Box 1000
 7000 SR-161                                       Okeene, OK 73763
 Irving, TX 75039
                                                   Old Seville Waste Management Inc.
 Morgan Birge & Assoc.                             PO Box 967
 119 W. Hubbard St., 4th Fl.                       Gulf Breeze, FL 32562
 Chicago, IL 60654
                                                   One Energy Shopping Center LLC
                                                   9041 Trask Ave., Ste. B
                                                   Garden Grove, CA 92844



 779482-v1\DALDMS              EXHIBIT A TO CERTIFICATE OF SERVICE                           5
Case 14-30699-hdh11 Doc 456 Filed 06/21/14       Entered 06/21/14 20:13:32       Page 9 of 11



 One Source                                      Producers Rice Mill, Inc.
 PO Box 6016                                     PO Box 1000 Dept. #17
 Carol Stream, IL 60197                          Memphis, TN 38148

 Oracle                                          Providence Risk
 Bane of America Leasing & Capital LLC           P.O. Box 700370
 PO Box 405874                                   San Antonio, TX 78270-0370
 Atlanta, GA 30384
                                                 Qwest-Century Link
 Paccar Financial                                PO Box 856169
 PO Box 1518                                     Louisville, KY 40285
 Bellevue, WA 98009
                                                 R3/Papercraft
 Paragon Foods                                   PO Box 847348
 345 Rae's Creek Dr.                             Bunzi/R3
 Greenville, SC 29609                            Dallas, TX 75284-7348

 Parkway Development LLC                         Radiant Software License
 5214 68th St., Ste. 408                         Okie Handyman Ser
 Lubbock, TX 79424                               1004 N. Jones Ave.
                                                 Tahlequah, OK 74464-6808
 Pepsi Beverage Contract
 Pepsi Direct 9598813                            Rancier Investment 1 LLC
 PO Box 841828                                   1330 Cielo Ranch Rd.
 Dallas, TX 75284-1828                           San Marcos, TX 78666

 Peterson Farms I Cherrco                        Reed & Association
 PO Box 115                                      3621 Pottsboro Road #149
 Shelby, Ml 49455                                Denison, TX 75020

 Pictsweet                                       Rich Products
 PO Box 198233                                   PO Box 98333
 Atlanta, GA 30384-8233                          Chicago, IL 60693

 Pitney Bowes                                    Ricoh - Print Solutions Maintenance
 PO Box 371874                                   6300 Diagonal Hwy,
 Pittsburgh, PA 15250-7874                       Boulder, CO 80301-9270

 Potato Specialty Co.                            Rocket Software/Alden
 PO Box 3925                                     77 4th Ave.
 Lubbock, TX 79452                               Waltham, MA 02451-7565

 Premium Assignment Corp                         Rogers Avenue Properties, LLC
 3522 Thomasville Rd., Ste. 400                  109 North 6th St.
 Tallahassee, FL 32309                           Fort Smith, AR 72901

 Pro Act                                         Rohde-Herzog Family Trust of 1999
 24560 Silver Cloud Court                        1801 Century Park East, Ste. 2400
 Monterey, CA 93940                              Los Angeles, CA 90067




 779482-v1\DALDMS            EXHIBIT A TO CERTIFICATE OF SERVICE                          6
Case 14-30699-hdh11 Doc 456 Filed 06/21/14         Entered 06/21/14 20:13:32          Page 10 of 11



 Safesite                                          Sparky Sanders LLC
 9505 Johnny Morris Rd.                            2728 Ocotillo Ave.
 Austin, TX 78724-1527                             Santa Maria, CA 93455

 SAMP 2 LLC                                        Specialty Risk Services
 1604 Chasewood Dr.                                4245 Meridian Pkwy., Ste. 201
 Austin, TX 78727                                  Aurora, IL 60504

 San Juan Plaza Partners                           Stern Produce Co.
 2325 San Pedro NE, Ste. 2A                        3200 S. 7th St.
 Albuquerque, NM 87110                             Phoenix, AZ 85040

 SAN151NNN, LLC                                    Summer Prize Fruit Co.
 5944 Luther Ln., Ste. 725                         PO Box 2230
 Dallas, TX 75225                                  Watsonville, CA 95077-2230

 Sand Trap Service                                 Swisher
 PO Box 1823                                       PO Box 473526
 Fort Worth, TX 76101                              Charlotte, NC 28247

 Sara Lee                                          Symantec World Headquarters
 PO Box 8424370 D                                  350 Ellis St.
 Boston, MA 02284-2437                             Mountain View, CA 94043

 Schwan Food Company                               TALX Em player Service
 PO Box 1450                                       4076 Paysphere Circle
 NW7023                                            Chicago, IL 60674
 Minneapolis, MN 55485-7023
                                                   The Holland Island, LLC
 Securitas Security Systems                        616 Williams St.
 3414 Joliet Ave.                                  Berlin, MD 21801
 Lubbock, TX 79413
                                                   The Richards Group
 Seenergy Foods Limited                            8750 N. Central Expy., Ste. 1200
 121 Jevlan Dr.                                    Dallas, TX 75231
 Woodbridge, ON L4L 8A8
 CANADA
                                                   Tomorrow IX Broadmoor, LP
                                                   320 Gold Ave. SW, Ste. 400
 Segovias Distributing, Inc.                       Albuquerque, NM 87102
 1920-A Columbia Dr. SE
 Albuquerque, NM 87106
                                                   Top Brass Building Services
                                                   1828 Swift, Ste. 206, N.
 Segura Investors XII, LLC                         Kansas City, MO 64116
 1112 Montana Ave., Ste. 722
 Santa Monica, CA 90403-7129
                                                   Transamerica Life Insurance
                                                   PO Box 8063
 Simplex Grinnell
                                                   Little Rock, AR 72203
 5500 Midway Park Place NE
 Albuquerque, NM 87109
                                                   Tri-venture Marketing
 Snagajob                                          2525 Drane Field Rd., Ste. 1
 4851 Lake Brook Dr.                               Lakeland, FL 33811
 Glen Allen, VA 23060


 779482-v1\DALDMS              EXHIBIT A TO CERTIFICATE OF SERVICE                              7
Case 14-30699-hdh11 Doc 456 Filed 06/21/14       Entered 06/21/14 20:13:32      Page 11 of 11



 Tulsa Fruit Company Go Fresh                    Video Insight
 1691 North 161st East Ave.                      3 Riverway
 Tulsa, OK 74116                                 Houston, TX 77056

 United Healthcare                               Wells Fargo Client Service Agreement
 5800 Granite Pkwy., Ste. 900                    551 Belt Line Rd., Ste. 200
 Plano, TX 75024                                 Dallas, TX 75254

                                                 Wells Fargo Merchant Agreement
 Valassis Direct Mail Inc.                       5080 Spectrum Dr., Ste. 500
 PO Box 70179                                    Addison, TX 75001
 Los Angeles, CA 90074
                                                 WFC Wyoming NM, LLC
 Ventura Foods                                   9301 E. Shea Blvd., Ste. 124
 26259 Network Place                             Scottsdale, AZ 85260
 Chicago, IL 60673-1262




 779482-v1\DALDMS            EXHIBIT A TO CERTIFICATE OF SERVICE                          8
